Case 23-12825-MBK                 Doc 241      Filed 04/19/23 Entered 04/19/23 22:42:12                      Desc Main
                                              Document     Page 1 of 3



     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

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     PROPOSED ATTORNEYS FOR DEBTOR
     In re:                                                          Chapter 11

     LTL MANAGEMENT LLC, 1                                           Case No.: 23-12825 (MBK)

                                 Debtor.                             Judge: Michael B. Kaplan


                          APPLICATION FOR ORDER SHORTENING TIME

 TO:          THE HONORABLE MICHAEL B. KAPLAN
              CHIEF UNITED STATES BANKRUPTCY JUDGE

              The above-captioned debtor (the “Debtor”), by and through its undersigned counsel,

 requests that the time period to notice a hearing on the Debtor’s Motion for an Order

 (I) Scheduling Hearing on Approval of Disclosure Statement; (II) Establishing Disclosure



 1
              The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
              501 George Street, New Brunswick, New Jersey 08933.

 NAI-1536605847
Case 23-12825-MBK           Doc 241      Filed 04/19/23 Entered 04/19/23 22:42:12                        Desc Main
                                        Document     Page 2 of 3



 Statement Objection Deadline; and (III) Granting Related Relief (the “Motion”) 2 as required by

 D.N.J. LBR 9013-2(a) be shortened pursuant to Fed. R. Bankr. P. 9006(c)(1), for the reasons set

 forth below:

         1.       A shortened hearing time is requested because: The Debtor commenced this

 Chapter 11 Case to pursue confirmation of a plan of reorganization, the material terms of which

 have been agreed to with thousands of talc claimants and memorialized in a series of plan

 support agreements. Consistent with the terms of the plan support agreements, the Debtor is

 working diligently to finalize and file the Plan by May 14, 2023, or as soon thereafter as is

 feasible, together with the Disclosure Statement and a motion for approval of Solicitation

 Procedures.

         2.       Hearing the Motion on shortened notice, prior to the date by which the Debtor

 intends to file the Plan, the Disclosure Statement, and the Disclosure Statement Motion, will

 benefit parties in interest by establishing a schedule that will assist in the prompt resolution of

 this Chapter 11 Case. The Motion seeks to, among other things, schedule the Disclosure

 Statement Hearing and shorten the notice period for objections to approval of the Disclosure

 Statement by seven (7) days, from a twenty-eight day period to a twenty-one day period. An

 expedited confirmation process, including prompt consideration of the Disclosure Statement, is

 in the best interest of the Debtor, its creditors, and other stakeholders. Accordingly, the Debtor

 respectfully submits that it is necessary and appropriate for the Court to consider the Motion on

 shortened notice.

         3.       State the hearing dates requested: The Debtor respectfully requests that the Court

 hear the Motion on May 3, 2023, or on a date and time which is most convenient for the Court.


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         Capitalized terms not otherwise defined herein have the meanings given to them in the Motion.
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 NAI-1536605847
Case 23-12825-MBK          Doc 241    Filed 04/19/23 Entered 04/19/23 22:42:12             Desc Main
                                     Document     Page 3 of 3



         3.       Reduction of the time period is not prohibited under Fed. R. Bankr. P 9006(c)(1).

 The applicant requests entry of the proposed order shortening time.


  Dated: April 19, 2023                               WOLLMUTH MAHER & DEUTSCH LLP

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 NAI-1536605847
